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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION
________________________________________

    IN RE: AQUEOUS FILM-FORMING FOAM                                    Case No. 2:18-md-2873 (RMG)
    PRODUCTS LIABILITY LITIGATION                                       Judge Richard M. Gergel
    _______________________________________


This document relates to: ALL ACTIONS.

PLAINTIFF EXECUTIVE COMMITTEE’S NOTICE OF FILING OF SUPPLEMENTAL
               EXHIBITS AND PLAINTIFFS’ VISUAL AIDS

          On August 19, 2022, the Court held oral argument on the Defendants’ motion for summary

judgment on the government contractor immunity defense. Following oral argument, the Court

issued the Order Regarding Supplementation of the Record and Documents Used at the August 19, 2022

Oral Arguments [ECF No. 2547](“Order”).

      Pursuant to the Order, the Plaintiffs’ Executive Committee (“PEC”) hereby supplements the 255

exhibits previously offered by the PEC in support of its opposition to Defendants’ motion for summary

judgment on the government contractor defense with the following nine (9) documents presented to the

Court during oral argument either through discussion with the Court, and/or by appearing on one or more

of the PEC’s visual aids presented to the Court, 1which were not previously entered into the record.

    Exhibit #       Description

    Pl. Ex. 256     July 29, 2022, Excerpt of the Deposition Testimony of Telomer Defendants’ Expert,
                    A.J. Gravel at 258:1-259:3

    Pl. Ex. 257     Expert Report of Plaintiffs’ Expert Christopher P. Higgins, Ph.D., dated March 18,
                    2022 (subject to motion to seal)

    Pl. Ex. 258     Exhibit DL1438, bearing bates number 3M_AFFF_MDL01272236-251



1
 With the exception of the nine (9) new exhibits identified herein, the exhibit numbers appearing on the visual aids
correspond to the exhibit numbers of the exhibits previously submitted in the Parties’ briefing.
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    Pl. Ex. 259     Excerpt of DL1496, May 21, 2021, Excerpt of the Deposition Testimony of United
                    States witness Frederick K. Walker, Jr., Vo. III., at 721:7-723:12 (subject to motion to
                    seal)
    Pl. Ex. 260     Exhibit DL1878, bearing bates number FF_NAVY11_00327162-63 2 (subject to motion
                    to seal)

    Pl. Ex. 261     Exhibit DL1879, bearing bates number FF_NAVY12_00007002-03

    Pl. Ex. 262     Exhibit DL1880, bearing bates number FF_EPA011_00139131

    Pl. Ex. 263     August 17, 2021, Declaration of Melvin E. Andersen, Ph.D.

    Pl. Ex. 264     Exhibit LP224, bearing bates number 3M_BELL00064127



      In addition, also pursuant to the Order, the PEC files the below identified visual aids that were

presented to the Court during oral argument:

    Exhibit #       Visual Aid Description

    Pl. Ex. 265     Deck A – Telomer Continued Use Timeline (4 slides)

    Pl. Ex. 266     Deck B – Evidence DoD Relies on EPA (5 slides)

    Pl. Ex. 267     Deck C – 3M Continued Use/Prong 3 Timeline (3 slides)

    Pl. Ex. 268     Deck F – Testimony re Gov’t Knowledge of Degradation to PFOA Creates Issue of
                    Fact (1 slide)


Dated: August 24, 2022                                                 /s/ Fred Thompson, III
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                                                                        Plaintiffs’ Liaison Counsel


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  As of today, the August 19, 2022, hearing transcript is not yet final, and thus the PEC is not yet in possession of
same. However, counsel recalls it may have been inadvertently stated that this document was produced in July 2022.
The PEC has confirmed it was produced in June 2021, and thus assuming the accuracy of such recollection, the PEC
wanted to be sure to correct the record in this regard. The document being offered as Pl. Ex. 262 rather than Pl. Ex.
260 was the document produced in July 2022.


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                                                                        -and-

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                                                                Co-lead Counsel for Plaintiffs




                                      CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was electronically filed with this
Court’s CM/ECF on this 24th day August 2022 and was thus served electronically upon counsel of record.

                                                            /s/ Fred Thompson, III




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